
In re Doming, Dennis; — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of Jefferson, 24th Judicial District Court Div. H, No. 10-2138; to the Court of Appeal, Fifth Circuit, No. 14-KH-328.
*647Writ granted in part; otherwise denied. Because the terms of the statute under which relator was sentenced do not include a prohibition on parole, see R.S. 14:100; R.S. 15:529.1, the district court is directed to resentence relator to a term which does not include such a prohibition. Relator’s parole eligibility is to be determined by the Department of Corrections pursuant to R.S. 15:574.4. St. Amant v. 19th J.D.C., 94-0567 (La.9/3/96), 678 So.2d 536; cf. State ex rel. Simmons v. Stalder, 93-1852 (La.1/26/96), 666 So.2d 661.
